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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


  NASEEM S. STANAZAI,

                        Plaintiff,

                 v.
                                                        Civil Action No. 17-2653 (RDM)
  BROADCASTING BOARD OF
  GOVERNORS,

                        Defendant.


                       NOTICE OF SUBSTITUTION OF COUNSEL

       The Clerk of the Court will please enter the appearance of Assistant United States

Attorney Anna D. Walker as counsel of record for Defendant in this matter, who is substituting

as counsel for Assistant United States Attorney Johnny Hillary Walker, III.


Dated: November 10, 2021                    Respectfully submitted,


                                            _/s/ Anna D. Walker_________
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